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                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION                               ENTERED
                                                                                              12/05/2019



                            :
In re                       :                                Chapter 11
                            :
NEWSCO INTERNATIONAL ENERGY :                                Case No. 19-36767 (MI)
SERVICES USA, INC.,         :
                            :                                Related to Docket No.
Debtor.                     :



                   ORDER AUTHORIZING THE DEBTOR TO PAY
 PRE-PETITION EMPLOYEE WAGES, BENEFITS, INDEPENDENT CONTRACTORS
                    AND RELATED ITEMS ON INTERIM BASIS
                                   (Docket No. 7)
      This matter coming before the Court on the Debtor’s Emergency Motion For Interim

Order Authorizing the Debtor to Pay Pre-petition Employee Wages, Benefits, Independent

Contractors And Related Items (the “Motion”); the Court having reviewed the Motion and the

First Day Declaration and having considered the statements of counsel and the evidence adduced

with respect to the Motion at a hearing before the Court (the “Hearing”); the Court having found

that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii)

venue is proper in this district pursuant to 28 U.S.C. §§1408 and 1409, (iii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b), (iv) notice of the Motion and the Hearing was

sufficient under the circumstances and (v) there is good cause to waive the fourteen-day stay

imposed by Bankruptcy Rule 6004(h) to the extent it is applicable; and after due deliberation the

Court having determined that the relief requested on an interim basis in the Motion is (i) in the

best interests of the Debtor, its estate and its creditors and (ii) necessary to prevent immediate

and irreparable harm to the Debtor, its estate and its employees; and good and sufficient cause

having been shown;
ORDER AUTHORIZING THE DEBTOR TO PAY PRE-PETITION EMPLOYEE WAGES, BENEFITS,
INDEPENDENT CONTRACTORS, AND RELATED ITEMS ON INTERIM BASIS – EXHIBIT A-1
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           IT IS HEREBY ORDERED THAT:

           1.         The Motion is GRANTED as set forth herein.

          XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
          2.  On ___________________________, 2019, at _____ __.m. (prevailing Central

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
Standard Time), a hearing will be held before this Court to consider the relief sought in the

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
Motion. All objections, if any, to the Motion shall be in writing and filed with this Court and

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
served on counsel for the Debtor, any duly appointed statutory committee and the United States

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
Trustee, so as to be received on or before December __, 2019 at __:00 p.m. (prevailing Central

XXXXXXXXXX
Standard Time).

           3.         The Debtor is authorized, but not directed, to pay on an interim basis the Pre-

petition Compensation, Pre-petition Deductions, Pre-petition Benefits, Pre-petition Processing

Costs that were accrued and unpaid as of the Petition Date in an aggregate amount not to exceed

$132,720.70, plus $91,987.49 in independent contractors claims, and also $4,750.00 for a

temporary staffing agency, for a total of $229,458.19, provided, that pending entry of a Final

Order, the Debtor shall not honor any Pre-petition Compensation, Pre-petition Deductions, Pre-

petition Benefits and Pre-petition Processing Costs that exceed the priority amounts set forth in

11 U.S.C. §507(a)(4) or 11 U.S.C. §507(a)(5). In addition, subject to entry of a final order, the

Debtor shall not cash out any vacation/leave time upon the termination of any employee, except

to the extent applicable state law requires such payment.

           4.         Nothing herein shall be deemed to authorize the payment of any amounts that

violate, implicate, or are otherwise subject to 11 U.S.C. §503(c). The Debtor will seek approval

of any management or insider bonus or incentive programs, if any, under separate motion under

11 U.S.C. §503(c), and nothing herein shall prejudice the Debtor’s ability to seek such relief

pursuant to 11 U.S.C. §503(c) at a later time.

ORDER AUTHORIZING THE DEBTOR TO PAY PRE-PETITION EMPLOYEE WAGES, BENEFITS,
INDEPENDENT CONTRACTORS, AND RELATED ITEMS ON INTERIM BASIS – EXHIBIT A-2
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           5.         The Debtor is authorized, in the Debtor’s sole discretion, to pay on an interim

basis the Pre-petition Business Expenses that were accrued and unpaid as of the Petition Date.

           6.         The Banks are authorized, when requested by the Debtor, to receive, process,

honor and pay all checks presented for payment of, and to honor all funds transfer requests made

by the Debtor related to Pre-petition Compensation, Pre-petition Business Expenses, Pre-petition

Deductions, Pre-petition Benefits and Pre-petition Processing Costs, whether such checks were

presented or funds transfer requests were submitted prior to or after the Petition Date, provided

that funds are available in the Debtor’s accounts to cover such checks and funds transfers. The

Banks are authorized to rely on the Debtor’s designation of any particular check or funds transfer

as approved by this Order.

           7.         Nothing in the Motion or this Order, nor the Debtor’s payment of claims pursuant

to this Order, shall be deemed or construed as: (a) an admission as to the validity, priority, or

amount of any claim against the Debtor; (b) a waiver of the Debtor’s or any other party-in-

interest’s rights to dispute any claim on any grounds; (c) a promise or requirement to pay any

claim; (d) an implication or admission that any particular claim against the Debtor is of a type

specified or defined hereunder; (e) a request to assume any agreement, contract or unexpired

lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtor’s

or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law;

(g) a concession by the Debtor or any other party-in-interest that any liens (contractual, common

law, statutory or otherwise) satisfied pursuant to this Order are valid and the Debtor and all other

parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection or to

seek avoidance of all such liens.




ORDER AUTHORIZING THE DEBTOR TO PAY PRE-PETITION EMPLOYEE WAGES, BENEFITS,
INDEPENDENT CONTRACTORS, AND RELATED ITEMS ON INTERIM BASIS – EXHIBIT A-3
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           8.         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be effective and enforceable immediately upon its entry.

           9.         The requirements of Bankruptcy Rule 6003(b) have been satisfied with respect to

the payments authorized by this Order.

           10.        This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and enforcement of this Order, and any Motion

seeking a Final Order on Wages, Benefits, Independent Contractors, and Related Items.


       Signed: December 05, 2019.
Dated: ___________________, 2019.
       Houston, Texas                                  UNITED  STATES BANKRUPTCY JUDGE
                                                         ____________________________________
                                                           DAVID R. JONES
                                                           UNITED STATES BANKRUPTCY JUDGE




ORDER AUTHORIZING THE DEBTOR TO PAY PRE-PETITION EMPLOYEE WAGES, BENEFITS,
INDEPENDENT CONTRACTORS, AND RELATED ITEMS ON INTERIM BASIS – EXHIBIT A-4
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